       Case 6:21-cv-00474-AA         Document 50-20        Filed 08/06/21     Page 1 of 6



                           LIBERTY
                                 UNIVERSITY
                           0 F F I C E of the P RE S I D E N T



                                              January 16, 2014

Via FedEx Delivery

Ms. Robin C. Murphy
Team Leader
Officefor Civil Rights, District of Columbia Office
U.S.Department of Education
Lyndon Baines fohnson Building
Room 4E214
400 Maryland Avenue, SW
Washington, DC20202-1475

Re: OCRComplaint No. 11-14-2014

Dear Ms. Murphy:

        This letter continues our discussion that grew out of the November 8, 2013 letter
Liberty University received from the District of Columbia Officeof Civil Rights (OCR),
within the U.S.Department of Education. In the November 8th letter, OCRinformed Liberty
that a complaint had been filed against the University alleging that Liberty's Student Honor
Code discriminates against female students because the policy allows the University to
discipline students who have abortions.

       As we stated in our December 6th response letter, Liberty has no record of imposing
any discipline under the abortion provision of its Honor Code. In addition, Liberty has
never viewed the violation, identified in the Honor Code simply as "Abortion," to be
applicable only to females, and since learning of the complaint, Liberty has elected to revise
the code to clarify that it applies equally to both male and female students. Therefore,
Liberty maintains that its Honor Code is nondiscriminatory, and does not treat students
differently on the basis of gender.

       Nevertheless, the Department has asked Liberty to formally claim a religious
exemption under 34 C.F.R.§ 106.12, by providing (1) the names the religious entity that
oversees the University; (2) a description of the specific religious tenets that the University
believes are inconsistent with Title IX;and (3) the provisions of the Title IXregulation from
which the University claims an exemption.




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EXHIBIT U                                                                                         1
         Case 6:21-cv-00474-AA        Document 50-20        Filed 08/06/21       Page 2 of 6

Ms. Robin C. Murphy
January 16, 2014
Page 2




       In the spirit of continuing the discussion, Liberty is pleased to submit the following
information:

         1. Liberty University, the largest Christian university in the world, was founded in
            1971 as a ministry of the Thomas Road Baptist Church ("TRBC").The
            University's Articles of Incorporation provide the TRBCBoard of Directors with
            the power to remove any University trustee the Board finds to be "undermining
            the mission of the [University] as reflected in the Liberty University Doctrinal
            Position," with the trustee having notice and opportunity to appear before the
            TRBCboard prior to such determination. (SeeArts. of Inc., art. v, § 7.) The
            Doctrinal Position of the University may only be amended by the Board of
            Trustees with the consent of the Board of Directors of TR.BC.This ongoing
            oversight ensures that TRBC's mission-oriented intentions in founding Liberty
            University continue to be implemented. Thus, the TRBC Board of Directors
            maintains this continuing oversight of the University's board of trustees and has
            the power to make its own interpretations on important issues related to the
            religious doctrine of the University.

         2. Since 1971, the mission of the University has been to develop Christ-centered
            men and women with the values, knowledge, and skills essential for impacting
            tomorrow's world. Liberty University is synonymous with "Training Champions
            for Christ," a motto it continues to proudly proclaim. The teachings of the
            Christian faith are central to the University's purpose, mission, and the holistic
            development that it seeks to foster in its students. The University's purpose, as
            stated in its Articles of Incorporation, is to glorify God by "equipping men and
            women in higher education in fidelity to the Christian faith expressed through
            the Holy Scriptures, the orthodox religious and moral foundations of that
            education being a central and perpetual purpose and mission ..." (SeeArts. Of
            Inc., art. iii.) The University's mission staten1ent provides that "[e]ducation as
            the process of teaching and learning, involves the whole person, by developing
            the knowledge, values, and skills which enable each individual to change freely.
            Thus it occurs most effectively when both instructor and student are properly
            related to God and each other through Christ." (See Liberty University, Mission
            Stmt., (Nov. 2, 2010).)




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EXHIBIT U                                                                                        2
     Case 6:21-cv-00474-AA        Document 50-20       Filed 08/06/21       Page 3 of 6

Ms. Robin C. Murphy
January 16, 2014
Page 3




         The University has sought to accomplish its purpose and mission in several
         ways. First, all subjects, both religious and non-religious, are taught from a
         biblical worldview. Second, the faculty members at the University must affirm
         the University's Doctrinal Position before instructing students. Third,
         undergraduate residential students are required to attend convocation services
         three times a week, and faculty and staff are required to attend services once a
         week. Collectively, these efforts ensure that the tenets and teachings of the
         Christian faith anchor each student's education and growth at Liberty.

         Liberty takes pride in its Christian form of education, and its unwavering
         commitment to the faith-based principles that it instills in each student that
         attends the University. Like many of Liberty's disciplinary policies, the policy
         regarding student abortions reflects a bona fide and sincerely-held religious
         conviction, maintained in accordance with the established religious tenets upon
         which Liberty University was founded. The genuine religious and historic
         Biblical basis for opposing abortion, as derived from Holy Scripture, is clear and
         widely recognized in the United States, and is held out unequivocally as TRBC
         doctrine. That doctrine is proclaimed in numerous books, sermons and public
         statements by the late Rev. Dr. Jerry Falwell, Sr., the founder of both TRBCand
         the University.

      3. As we have repeatedly stated, Liberty believes that its disciplinary policy is
         nondiscriminatory. However, to the extent that the Department is concerned
         that Liberty's policy may run counter to the prohibitions on discrimination
         under Title IX,the University contends that its policy regarding abortion is
         founded on religious tenets that must be exempt under Title IXas a permissible
         exercise under the First Amendment. Specifically, in this context, Liberty claims
         exemption from the provisions of 34 C.F.R.106.31(b) on the basis that Liberty's
         policy is founded on and consistent with its religious tenets and those of TRBC.




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EXHIBIT U                                                                                     3
      Case 6:21-cv-00474-AA         Document 50-20        Filed 08/06/21    Page 4 of 6

Ms. Robin C. Murphy
January 16, 2014
Page 4




        Please do not hesitate to contact us if you require further information or
clarification regarding Liberty's position on this matter.

                                         . Sincerely,


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                                              ry L. Falwell, Jr.
                                              ancellor and President


cc:    Mark Hine, Senior Vice President for Student Affairs
       Ronald S. Godwin, Senior Vice President for Academic Affairs and Provost
       David Corry, Esq., General Counsel
       Kay Bhagat, Esq., l<ay.8hagat@ed.gov
       Jane Ehrenfeld, Esq.,Jane.Ehrenfeld@ed.gov
       Martl1a Russo, Esq., Martha.Russo@ed.gov




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EXHIBIT U                                                                                 4
          Case 6:21-cv-00474-AA                     Document 50-20                Filed 08/06/21               Page 5 of 6

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April 22. 2014

Jerry L. Falwell, Jr.
Chancellor and President
Liberty University
1971 University Boulevard
Lynchburg, VA 24515

Dear Mr. Falwell:

The purpose or this letter is to respond to your January 16, 20 I 4, letter to the U.S. Department
of Education, Office for Civil Rights (OCR), in which you requested a religious
exemption for Liberty University (University) of Lynchburg. Virginia from Title IX of the
Education Amendments of 1972 (Title IX). 20 U.S.C. §§ 1681-1688. as it relates to
imposing discipline on students who have abortions. Title IX prohibits discrimination on
the basis of sex in any edt1cation program or activity operated by a recipient of Federal
financial assistance. The implementing regulation at 34 C.F.R. § 106.40(b) prohibits a
recipient from discriminating against any student on the basis of a studem·s pregnancy,
childbirth, false pregnancy, termination of pregnancy or recovery therefrom.

The implementing regulation at 34 C.F.R. § I 06.12 provides that Title IX does net apply to
educational institutions controlled by religious organizations to the extent that application of
Title IX would be inconsistent with the institution's religious tenets. Therefore, such
educational institutions are allowed to request an exemption from Title IX by identifying the
provisions of Title lX that conflict with a spcci fie tenet of the religious organization. The
request must identify the religious organization that controls the educational institution and
specify the tenets of that organization and the provisions of the law and/or regulation that
conflict with those tenets.

Your request explained that the University was founded --as a ministry of the Thomas Road
Baptist Church ('TRBC')'' and that the University's Articles of Incorporation state that the
University's purpose is ..to glorify God by 'equipping men and women in higher education in
fidelity to the Christian faith expressed through the Holy Scriptures: the orthodox religious and
moral foundation of that education being a central and perpetual purpose and rnission. ··· You
note that faculty members must affirm the University·s Doctrinal Position before instructing
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convocation services. Your request states that ··the policy regarding student abortions reflects a
bona tide and sincerely-held religious conviction, maintained in accordance with the established
religious tenets upon which Liberty University v.ras founded. The genuine religious and histo1ic
Biblical basis for opposing abortion, as derived from 1-lo[yScripture is ... held out
unequivocally as TR.BC doctrine:·

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 EXHIBIT U                                                                                                                                       5
             Case 6:21-cv-00474-AA       Document 50-20        Filed 08/06/21     Page 6 of 6
Jerry L. Falwell. Jr. - page 2


You further state that, for these reasons, the University is requesting an exemption from Title IX
and its implementing regulation at 34 C.F.R. § I 06.31 (b) to allow the University to maintain a
policy allowing for the discipline of students who have an abortion. Because 34 C.F.R.
§ I 06.40(b) is the provision that would be most applicable to such a policy, we instead interpret
your request as a request for a religious exemption from 34 C.f .R. § I 06.40(b). Based on the
foregoing considerations. the University is exempt from the requirements of 34 C.f.R.
§ I 06.40(b) governing termination of pregnancy.

Please note that this letter should not be construed to grant exemption from the requirements of
Title IX and the regulation other than as stated above. In the event that OCR receives a
complaint against your institution, we are obligated to determine initially whether the allegations
fall within the exemption here granted. Also, in the unlikely event that a complainant alleges that
the practices followed by the institution are not based on the religious tenets of the controlling
organization, OCR is obligated to contact the controlling organization to verify those tenets. Ir
the organization provides an interpretation of tenets that has a different practical impact than that
described by the institution, or if the organization denies that it controls the institution. this
exemption will be rescinded.

I hope this letter responds fully to your request. If you have any questions, please do not hesitate
to contact me.

                                                      Sincerely,




                                                      Catherine E. Lhamon
                                                      Assistant Secretary for Civil Rights
                                                      U.S. Department of Education




   EXHIBIT U                                                                                            6
